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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHAPTER 4 CORP.,
                                                    Case No. 19-cv-03782
               Plaintiff,
                                                    Judge Robert W. Gettleman
v.
                                                    Magistrate Judge Sheila M. Finnegan
QINGHUA CHEN, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Chapter 4

Corp. (“Plaintiff”) hereby dismiss this action with prejudice against the following Defendants:

               Defendant Name                                          Line No.
               bestofferoverhere                                          25
               comedreamworld                                             54
                   espyteass                                              74
                  fashionspro                                             78
                 gobetterdeal                                             94
                  happywhile                                             107
                  keeper-mall                                            149

Dated this 16th day of August 2019.          Respectfully submitted,

                                             /s/ Allyson M. Martin
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Allyson M. Martin
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080
                                             312.360.9315 (facsimile)
                                             aziegler@gbc.law
                                             jgaudio@gbc.law
                                             amartin@gbc.law

                                             Counsel for Plaintiff Chapter 4 Corp.
